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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION
In re:

RICHARD TERRY BOURNE                                      CASE NO. 19-bk-00133-KSJ
PATRICIA SHAFFER BOURNE                                   CHAPTER 7

                  Debtors.
_______________________________/

                 MOTION FOR RELIEF FROM THE AUTOMATIC STAY
                             (Surrendered Property)

             NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING

PURSUANT TO LOCAL RULE 2002-4, THE COURT WILL CONSIDER THE RELIEF
REQUESTED IN THIS PAPER WITHOUT FURTHER NOTICE OR HEARING UNLESS
A PARTY IN INTEREST FILES A RESPONSE WITHIN TWENTY-ONE (21) DAYS
FROM THE DATE SET FORTH ON THE ATTACHED PROOF OF SERVICE, PLUS AN
ADDITIONAL THREE DAYS FOR SERVICE IF ANY PARTY WAS SERVED BY U.S.
MAIL.

IF YOU OBJECT TO THE RELIEF REQUESTED IN THIS PAPER, YOU MUST FILE A
RESPONSE WITH THE CLERK OF THE COURT AT THE GEORGE C. YOUNG
FEDERAL COURTHOUSE 400 WEST WASHINGTON STREET, SUITE 5100,
ORLANDO, FL 32801 AND SERVE A COPY ON THE MOVANT’S ATTORNEY, GAVIN
STEWART, P.O. BOX 5703, CLEARWATER, FL 33758, AND ANY OTHER
APPROPRIATE PERSONS WITHIN THE TIME ALLOWED. IF YOU FILE AND SERVE
A RESPONSE WITHIN THE TIME PERMITTED, THE COURT WILL EITHER
SCHEDULE AND NOTIFY YOU OF A HEARING, OR CONSIDER THE RESPONSE
AND GRANT OR DENY THE RELIEF REQUESTED WITHOUT A HEARING.

IF YOU DO NOT FILE A RESPONSE WITHIN THE TIME PERMITTED, THE COURT
WILL CONSIDER THAT YOU DO NOT OPPOSE THE RELIEF REQUESTED IN THE
PAPER, WILL PROCEED TO CONSIDER THE PAPER WITHOUT FURTHER NOTICE
OR HEARING, AND MAY GRANT THE RELIEF REQUESTED.

         Specialized Loan Servicing LLC as servicing agent for The Bank of New York Mellon

FKA The Bank of New York, as Trustee for the certificateholdes of the CWABS, Inc., Asset-

Backed Certificates, Series 2007-1 (“Movant”) seeks, pursuant to 11 U.S.C. §362(d), relief from

the automatic stay and states:
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       1.      On December 26, 2006, Debtors, executed and delivered a promissory note and

mortgage securing payment of the note in favor of Countrywide Home Loans Inc.

       2.      Specialized Loan Servicing LLC services the loan on the Property referenced in

this Motion. In the event the automatic stay in this case is modified, this case dismisses, and/or

the Debtor obtains a discharge and a foreclosure action is commenced on the mortgaged property,

the foreclosure will be conducted in the name of Movant or Movant’s successor or assignee.

Movant, directly or through an agent, has possession of the promissory note and has the ability to

enforce and foreclose its lien. The note has been duly endorsed and Movant is the assignee of the

mortgage. A copy of the promissory note, mortgage, assignment of mortgage and loan

modification is attached hereto as Composite Exhibit “A.”

       3.      The mortgage is secured by the following real property located in Brevard County,

Florida:

LOT 8, BLOCK 2355, PORT MALABAR UNIT 45, ACCORDING TO THE MAP OR
PLAT THEREOF AS RECORDED IN PLAT BOOK 22, PAGE 3, OF THE PUBLIC
RECORDS OF BREVARD COUNTY, FLORIDA.

AKA 1031 Roanoke Court NE, Palm Bay, Florida 32907 (“Property”)

       4.      Pursuant to Local Rule 4001-1(c)(1)(C), the following is the default information on

the loan as of January 16, 2019: the total debt owed was $461,505.52 and the loan is due for the

January 1, 2013 payment and all subsequent payments.

       5.      According to the Statement of Intention, Debtors intend to surrender the collateral.

       6.      According to the Debtors’ Schedules, the value of the Property is $283,000.00.

       7.      It would be inequitable to allow the Debtors to retain the Property, as there is no

equity above the total indebtedness.
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       8.      Furthermore, Movant is not receiving payments to protect against the erosion of its

security interest in the Property.

       9.      If Movant is not permitted to enforce its lien on the Property, it will suffer

irreparable injury, loss, and damage.

       WHEREFORE, Movant, respectfully requests the Court enter an order:

               a.      terminating the automatic stay;

               b.      permitting Movant to take any and all steps necessary to exercise any and

all rights it may have in the Property described herein; and

               c.      granting such other relief that the Court may deem just and proper.

                                                   /s/ Gavin N. Stewart
                                                   Gavin N. Stewart, Esquire
                                                   Florida Bar Number 52899
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                                                   Clearwater, FL 33765
                                                   P: (727) 565-2653
                                                   F: (727) 213-9022
                                                   E:bk@stewartlegalgroup.com
                                                   Counsel for Movant


                                     CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served by CM/ECF notice

and first class mail this 21st day of January, 2019.

                                                   /s/ Gavin N. Stewart
                                                   Gavin N. Stewart, Esquire
                                                   Florida Bar Number 52899
VIA FIRST CLASS MAIL
Patricia Shaffer Bourne
Richard Terry Bourne
1031 Roanoke Court NE
Palm Bay, FL 32907

VIA CM/ECF NOTICE
Melissa E Peat
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